     Case 2:20-cv-01962-GMN-DJA Document 20 Filed 11/19/21 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10

11    DONALD TAYLOR,                                    Case No. 2:20-cv-01962-GMN-DJA
12                       Petitioner,                    ORDER
13           v.
14    DIRECTOR, NEVADA DEPARTMENT
      OF CORRECTIONS, et al.,
15
                         Respondents.
16

17          Petitioner has filed motion for leave to file second amended petition for a writ of habeas

18   corpus. ECF No. 18. Respondents do not oppose the motion. ECF No. 19. The court finds that

19   good cause exists to grant the motion.

20          IT THEREFORE IS ORDERED that petitioner's motion for leave to file second amended

21   petition for a writ of habeas corpus (ECF No. 18) is GRANTED. Petitioner must file the second

22   amended petition and its exhibits within 7 days of the date of entry of this order.

23          IT FURTHER IS ORDERED that respondents need not respond to the first amended

24   petition (ECF No. 14).

25   ///

26   ///

27   ///

28   ///
                                                        1
     Case 2:20-cv-01962-GMN-DJA Document 20 Filed 11/19/21 Page 2 of 2



 1          IT FURTHER IS ORDERED that the briefing schedule of the court's order of January 13,

 2   2021 (ECF No. 10) will apply following the filing of the second amended petition.

 3          DATED: November 19, 2021
 4                                                             ______________________________
                                                               GLORIA M. NAVARRO
 5                                                             United States District Judge
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                     2
